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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                       )
RAFAELA ALDACO,                                        )
                                                       )
        Plaintiff,                                     )
                                                       )
                  v.                                   )   Case No. 16 C 5754
                                                       )
RENTGROW, INC. d/b/a Yardi Resident                    )
Screening                                              )   Judge Joan H. Lefkow
                                                       )
        Defendant.                                     )

                                     ORDER AND STATEMENT

      Defendant RentGrow, Inc. d/b/a Yardi Resident Screening’s motion for summary
judgment (dkt. 35) is granted. The case is terminated. See Statement. 1

                                             STATEMENT 2

I.      Background

        RentGrow, Inc. d/b/a Yardi Resident Screening (YRS) is a credit reporting agency that
provides background reports on potential tenants to landlords and apartment management
companies. (Dkt. 53, Plantiff’s Responses to Defendant’s Local Rule 56.1 Statement of Facts
(Pl.’s LR 56.1 Resp.) ¶ 1.) A YRS client decides which types of background information she
wants on a potential tenant (e.g., criminal, financial, etc.), and YRS then provides a background
report in accordance with the client’s criteria. (Id. ¶ 8.) Clients request these background reports
through a YRS web portal. (Id. ¶ 6.)

      In November 2015, Rafaela Aldaco applied for a program administered by Fellowship
Housing Corporation (FHC) that provided subsidized housing to single mothers at risk of

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            The court has jurisdiction under 28 U.S.C. § 1331. Venue is proper under 28 U.S.C. § 1391(b).
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           Unless otherwise noted, the facts in this section are taken from the parties’ Local Rule 56.1
statements and are construed in the light most favorable to the non-moving party. The court will address
many but not all of the factual allegations in the parties’ submissions, as the court is “not bound to discuss
in detail every single factual allegation put forth at the summary judgment stage.” Omnicare, Inc. v.
UnitedHealth Grp., Inc., 629 F.3d 697, 704 (7th Cir. 2011) (citation omitted). In accordance with its
regular practice, the court has considered the parties’ objections to the statements of fact and includes in
this background only those portions of the statements and responses that are appropriately supported and
relevant to the resolution of this motion. Any facts that are not controverted as required by Local Rule
56.1 are deemed admitted.



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homelessness. (Id. ¶ 34.) FHC approved Aldaco’s application and sought to place her in a unit at
the Reserve of Hoffman Estates. (Id. ¶¶ 35, 36.) Aldaco went to the Reserve on January 12,
2016, to gain access to the unit. (Dkt. 59, Defendant’s Responses to Defendant’s Local Rule 56.1
Statement of Facts (Def.’s LR 56.1 Resp.) ¶ 71.) At that time, the Reserve, with Aldaco’s
permission, requested a criminal background check through the YRS web portal. (Id.) The
background report showed that she had pled guilty to battery in 1996, which resulted in a
sentence of community service as well as a disposition of supervision. (Def.’s LR 56.1 Resp. ¶
38; id. ex. 5.) As a result of this criminal history, the Reserve refused to rent the unit to Aldaco.
(Id. ¶ 38.)

        The Fair Credit Reporting Act (FCRA) prohibits credit reporting agencies from including
criminal history older than seven years on a background report. See 15 U.S.C. §§ 1681c(a)(2),
(5). Convictions, however, are not subject to this time bar and can be reported indefinitely.
Id. § 1681c(a)(5). Under Illinois law, “[a]t the conclusion of the period of supervision, if the
court determines that the defendant has successfully complied with all of the conditions of
supervision, the court shall discharge the defendant and enter a judgment dismissing the
charges.” 730 Ill. Comp. Stat. Ann. 5/5-6-3.1(e). “Discharge and dismissal upon a successful
conclusion of a disposition of supervision shall be deemed without adjudication of guilt and shall
not be termed a conviction for purposes of disqualification or disabilities imposed by law upon
conviction of a crime.” 730 Ill. Comp. Stat. Ann. 5/5-6-3.1(f). Adalco argues that because she
successfully completed her term of supervision, she was never convicted of a crime, and
therefore YRS violated the FCRA by including the twenty-year-old criminal history on the
background report. YRS moves for summary judgment, claiming that a disposition of
supervision is considered a conviction for purposes of the FCRA.

II.     Legal Standard

        Summary judgment obviates the need for a trial where there is no genuine issue as to any
material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
56(a). A genuine issue of material fact exists if “the evidence is such that a reasonable jury could
return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,
106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). To determine whether a genuine fact issue exists, the
court must pierce the pleadings and assess the proof as presented in depositions, answers to
interrogatories, admissions, and affidavits that are part of the record. Fed. R. Civ. P. 56(c). In
doing so, the court must view the facts in the light most favorable to the non-moving party and
draw all reasonable inferences in that party’s favor. Scott v. Harris, 550 U.S. 372, 378, 127 S. Ct.
1769, 167 L. Ed. 2d 686 (2007). The court may not weigh conflicting evidence or make
credibility determinations. Omnicare, 629 F.3d at 704.

        The party seeking summary judgment bears the initial burden of proving there is no
genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 91
L. Ed. 2d 265 (1986). In response, the non-moving party cannot rest on bare pleadings alone but
must designate specific material facts showing that there is a genuine issue for trial. Id. at 324;
Insolia v. Philip Morris Inc., 216 F.3d 596, 598 (7th Cir. 2000). If a claim or defense is factually
unsupported, it should be disposed of on summary judgment. Celotex, 477 U.S. at 323–24.




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III.     Analysis

        The purpose of the FCRA is to ensure “that consumer reporting agencies adopt
reasonable procedures for meeting the needs of commerce for consumer credit, personnel,
insurance, and other information in a manner which is fair and equitable to the consumer, with
regard to the confidentiality, accuracy, relevancy, and proper utilization of such information.” 15
U.S.C. § 1681(b). Under the FCRA, a consumer reporting agency may not report “[c]ivil suits,
civil judgments, and records of arrest that, from the date of entry, antedate the report by more
than seven years or until the governing statute of limitations has expired, whichever is the longer
period,” 15 U.S.C. § 1681c(a)(2), or “[a]ny other adverse item of information, other than records
of convictions of crimes[,] which antedates the report by more than seven years,” id. §
1681c(a)(5).

        The FCRA does not define the term “conviction.” Aldaco, without citing any legal
support, argues that the court “should define conviction by looking to the law of the forum in
which she received her disposition.” (Dkt. 51 at 7.) But “‘in the absence of a plain indication to
the contrary, . . . Congress when it enacts a statute is not making the application of the federal act
dependent on state law.’” Jansen v. Packaging Corp. of Am., 123 F.3d 490, 563 (7th Cir. 1997)
(Manion, J. concurring in part and dissenting in part), aff'd sub nom. Burlington Indus., Inc. v.
Ellerth, 524 U.S. 742, 118 S. Ct. 2257, 141 L. Ed. 2d 633 (1998) (quoting Mississippi Band of
Choctaw Indians v. Holyfield, 490 U.S. 30, 43, 109 S.Ct. 1597, 1605, 104 L.Ed.2d 29 (1989)).
“One reason for this rule of construction is that federal statutes are generally intended to have
uniform nationwide application.” Id. Accordingly, the court does not look to Illinois law to
determine the meaning of “conviction” under the FCRA. See Cole v. U.S. Capital, 389 F.3d 719,
726 n.6 (7th Cir. 2004) (rejecting a party’s argument that a term in the FRCA should be defined with
reference to state law because if the definition of the federal term “varie[d] from state to state based on
each state’s definition [of the term], Congress’ intent that the FCRA have uniform meaning and
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application among the states would be thwarted”).

        “The meaning of an undefined term in the FCRA, a federal statute, is a question of
Congress’ intent.” Id. at 726. The court therefore looks to the FCRA’s plain language and
legislative history (not necessarily in that order). See Hively v. Ivy Tech Cmty. Coll. of Indiana,
853 F.3d 339, 343 (7th Cir. 2017) (citations omitted) (“Much ink has been spilled about the
proper way to go about the task of statutory interpretation. One can stick, to the greatest extent
possible, to the language enacted by the legislature; one could consult the legislative history that
led up to the bill that became law; one could examine later actions of the legislature (i.e., efforts
to amend the law and later enactments) for whatever light they may shed; and one could use a
combination of these methods.”).

       Under an earlier version of the FCRA, convictions more than seven years old were not
reportable. See 15 U.S.C.A. § 1681c(a)(5) (West) (1997) (“Records of arrest, indictment, or
conviction of crime which, from date of disposition, release, or parole, antedate the report by
more than seven years.”). But in 1998, Congress amended the FCRA to allow convictions to be

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         Both parties focus heavily on McNamara v. HireRight Sols., Inc., No. 13 C 5215, 2014 WL
321790 (N.D. Ill. Jan. 29, 2014) and Oses v. Corelogic Saferent, LLC, 171 F. Supp. 3d 775 (N.D. Ill.
2016). The court respectfully disagrees with the reasoning in those decisions to the extent that state law is
used to define the parameters of the FCRA.



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reported indefinitely. The legislative history shows the intent of the change was to allow
“employers [to] have access to critical information [i.e., history of convictions] in order to make
informed hiring decisions . . . . Such information is particularly crucial in the hiring process for
employers in the area of child or elderly care, school bus driving, and household services . . . .
All in all this is a common sense bill designed to protect the public.” 144 Cong. Rec. H10218-02,
1998 WL 716421(statement of Rep. Leach). See also 144 Cong. Rec. S11638-04, 144 Cong.
Rec. S11638-04, 1998 WL 689580 (Statement of Sen. Nichols) (“In addition, this bill also
includes a provision that will allow criminal convictions to be reported past 7 years. This
information is critical to employers in the areas of child care, education, and household
services.”). It is fair to infer from this that Congress, when using the term “conviction,” was
concerned with full disclosure of prior illegal conduct. This is in keeping with the general
definition of “conviction”: “[t]he act or process of judicially finding someone guilty of a crime;
the state of having been proved guilty.” Conviction, Black's Law Dictionary (10th ed. 2014); cf.
United States v. Jones, 448 F.3d 958, 961 (7th Cir. 2006) (“[W]hen a case is dismissed after
supervision, the court does not wave a magic wand to erase the defendant's criminal conduct
from the time-space continuum.”).

       Because there is no question that Aldaco pleaded guilty to battery on December 17, 1996,
and that an Illinois court found her guilty battery the same day, it must follow that she has been
convicted of a crime within the meaning of the FCRA. Therefore, YRS did not violate the FCRA
when it reported as much and it is entitled to judgment in its favor.



Date: March 30, 2018


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                                                     U.S. District Judge Joan H. Lefkow




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